     Case 1:25-cr-00118-ECM-SMD              Document 398         Filed 06/10/25       Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )    CASE NO. 1:25-cr-118-ECM
                                                   )             [WO]
ALEXANDER RICHARDSON                               )

                                             ORDER

                                        INTRODUCTION

        Defendant Alexander Richardson (“Richardson”) is charged in a superseding

indictment with one count of conspiracy to distribute and possess with intent to distribute

methamphetamine and one count of conspiracy to distribute and possess with intent to

distribute cocaine, both in violation of 21 U.S.C. §§ 841(a) and 846. (Doc. 22). The

Government filed a motion for detention (doc. 76), and Chief United States Magistrate

Judge Stephen Doyle held a detention hearing on March 31, 2025. The Magistrate Judge

granted the Government’s motion for detention, finding that Richardson poses a danger to

the community. (Doc. 156). 1

        Now pending before the Court is Richardson’s motion to review and reverse

detention order. (Doc. 370). 2 Upon careful consideration, and for the reasons that follow,

the Court concludes that the Richardson’s motion is due to be denied without a hearing.



1
 Although the Magistrate Judge’s detention order also states that Richardson poses a risk of flight, the
Magistrate Judge later clarified that this statement was erroneous and that Richardson was detained based
on dangerousness alone (see doc. 397 at 2, n.1).
2
 In the same motion, Richardson also moved to reopen the detention hearing based on allegedly new and
material information regarding his health, which the Magistrate Judge denied (see doc. 397).
   Case 1:25-cr-00118-ECM-SMD          Document 398       Filed 06/10/25    Page 2 of 3




                     JURISDICTION AND LEGAL STANDARD

       Pursuant to 18 U.S.C. § 3145(b), a defendant who has been ordered detained

pending trial may move the court with original jurisdiction over the offense to revoke or

amend the detention order. In considering such a motion, the district court must undertake

an independent, de novo review of the case. United States v. King, 849 F.2d 485, 489–90

(11th Cir. 1988).

       In determining whether there are conditions of release that will reasonably assure

the defendant’s appearance and the safety of any other person and the community, the

Court takes into account several factors, including: (1) the nature and circumstances of

the offense charged, including whether the offense involves a firearm; (2) the weight of the

evidence against the defendant; and (3) the defendant’s history and characteristics,

including his physical condition. 18 U.S.C. § 3142(g).

                                      DISCUSSION

       In his motion, Richardson argues that allegedly new and material information

regarding his medical issues “raises concerns about whether continued detention is

appropriate.” (Doc. 370 at 1). Richardson also points out that the United States Probation

Office recommended that he be released on bond.

       In granting the Government’s motion for detention, the Magistrate Judge found that

credible evidence was presented that Richardson was a source of supply for cocaine and

was armed with at least three firearms. (Doc. 156 at 1). Richardson does not challenge



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   Case 1:25-cr-00118-ECM-SMD          Document 398       Filed 06/10/25   Page 3 of 3




this finding. Additionally, the Magistrate Judge found that armed drug dealers pose a

distinct danger to the community. (Id.).

       The Court has carefully reviewed the record in this case, including the Magistrate

Judge’s detention order, Richardson’s motion, and the medical records attached thereto.

Upon review, the Court agrees with the Magistrate Judge’s findings and conclusion that

the Government has proven, by clear and convincing evidence, that “no condition or

combination of conditions would reasonably assure the safety of the community.” (Id. at

1–2). The Court agrees with the Magistrate Judge’s finding that, based on the evidence

presented, Richardson poses a danger to the community. (See id. at 1). The Court further

finds that neither Richardson’s medical issues nor Probation’s recommendation, separately

or together, are sufficient to alter the conclusion that Richardson poses a danger to the

community such that detention is appropriate.

                                     CONCLUSION

       Accordingly, for the reasons stated, and for good cause, it is

       ORDERED that the Defendant’s motion to reverse the Magistrate Judge’s detention

order (doc. 370) is DENIED, and the detention order (doc. 156) is AFFIRMED.

       DONE this 10th day of June, 2025.

                                          /s/ Emily C. Marks
                                   EMILY C. MARKS
                                   CHIEF UNITED STATES DISTRICT JUDGE




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